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                      UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

EQUAL EMPLOYMENT OPPORTUNITY              )
COMMISSION,                               )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )          Civil Action No.
                                          )
3501 SEOUL, LLC,                          )          COMPLAINT
SUSHINATI, LLC,                           )
THE KOREA HOUSE, LLC,                     )          JURY TRIAL DEMAND
                                          )
      Defendants.                         )
_________________________________________ )

                            NATURE OF THE ACTION

      This is an action under Title VII of the Civil Rights Act of 1964, as amended,

and Title I of the Civil Rights Act of 1991, to correct unlawful employment practices

on the basis of sex and to make whole Jane Doe, 1 a former waitress and hostess at

3501 Seoul, a restaurant in Cincinnati, Ohio. As alleged in greater detail below, the

Equal Employment Opportunity Commission (“EEOC” or the “Commission”) alleges

that Jane Doe was subjected to a sexually hostile work environment by Kwon Choi,

owner and manager of Cincinnati-area restaurants 3501 Seoul, LLC, SushiNati, LLC,

and The Korea House, LLC, culminating in Jane Doe’s constructive discharge.




1Given the public interest in protecting the identities of sexual-assault victims, the
EEOC is utilizing a pseudonym for the former employee.
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                             JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

1331, 1337, 1343 and 1345. This action is authorized and instituted pursuant to

Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, as amended,

42 U.S.C. § 2000e-5(f)(1) and (3) (“Title VII”) and pursuant to Section 102 of the

Civil Rights Act of 1991, 42 U.S.C. § 1981a.

      2.     The employment practices alleged to be unlawful were committed

within the jurisdiction of the United States District Court for the Southern District

of Ohio, Western Division.

                                        PARTIES

      3.     Plaintiff, the Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the

administration, interpretation and enforcement of Title VII and is expressly

authorized to bring this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C.

§ 2000e-5(f)(1).

      4.     At all relevant times, 3501 Seoul, LLC has continuously been doing

business in the State of Ohio and the city of Cincinnati and had at least fifteen (15)

employees.

      5.     At all relevant times, 3501 Seoul, LLC has continuously been an

employer engaged in an industry affecting commerce under Sections 701(b), (g) and

(h) of Title VII, 42 U.S.C. §§ 2000e(b), (g) and (h).




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      6.     At all relevant times, SushiNati, LLC has continuously been doing

business in the State of Ohio and the city of Cincinnati and had at least fifteen (15)

employees.

      7.     At all relevant times, SushiNati, LLC has continuously been an

employer engaged in an industry affecting commerce under Sections 701(b), (g) and

(h) of Title VII, 42 U.S.C. §§ 2000e(b), (g) and (h).

      8.     At all relevant times, The Korea House, LLC has continuously been

doing business in the State of Ohio and the city of Cincinnati and had at least fifteen

(15) employees.

      9.     At all relevant times, The Korea House, LLC has continuously been an

employer engaged in an industry affecting commerce under Sections 701(b), (g) and

(h) of Title VII, 42 U.S.C. §§ 2000e(b), (g) and (h).

      10.    At all relevant times, 3501 Seoul, LLC, SushiNati, LLC, and The

Korea House, LLC have operated as a single-employer and/or integrated enterprise.

      (a)    Kwon Choi has an ownership interest in 3501 Seoul, LLC.

      (b)    Kwon Choi has an ownership interest in SushiNati, LLC.

      (c)    Kwon Choi has an ownership interest in The Korea House, LLC.

      (d)    Shelly Choi is Kwon Choi’s wife and she has an ownership interest in

             3501 Seoul, LLC.

      (e)    Shelly Choi has an ownership interest in SushiNati, LLC.

      (f)    Shelly Choi has an ownership interest in The Korea House, LLC.




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      (g)     Shelly Choi conducts the hiring for 3501 Seoul, LLC, SushiNati, LLC,

and The Korea House, LLC.

      (h)     Shelly Choi is the registered agent for 3501 Seoul, LLC, SushiNati,

LLC, and The Korea House, LLC.

      (i)     3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC share a

central business office.

      (j)     3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC share

managers.

      (k)     3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC share

employees.

      (l)     3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC share

accounting and payroll preparation services.

      (m)     3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC had a

combined total of more than 100 and fewer than 201 employees in each of 20 or

more calendar weeks in the current or preceding calendar year.

                           ADMINISTRATIVE PROCEDURES

      11.     More than thirty (30) days prior to the institution of this lawsuit, Jane

Doe filed a charge with the Commission alleging violations of Title VII by 3501

Seoul, LLC.

      12.     On or about January 6, 2020, the Commission issued to 3501 Seoul,

LLC, a Letter of Determination finding reasonable cause to believe it subjected Jane




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Doe to a sexually hostile work environment, constructively discharged her and

failed to retain and maintain employment records, in violation of Title VII.

       13.    The Letter of Determination invited 3501 Seoul, LLC to join with the

Commission in informal methods of conciliation to endeavor to eliminate the

unlawful employment practices and provide appropriate relief.

       14.    The Commission engaged in communications with 3501 Seoul, LLC to

provide it the opportunity to remedy the discriminatory practices described in the

Letter of Determination.

       15.    The Commission was unable to secure from 3501 Seoul, LLC a

conciliation agreement acceptable to the Commission.

       16.    On February 7, 2020, the Commission issued a Notice of Failure of

Conciliation to 3501 Seoul, LLC.

       17.    All conditions precedent to the institution of this lawsuit have been

fulfilled.

                              STATEMENT OF CLAIMS

       18.    On or about January 2019, 3501 Seoul, LLC engaged in unlawful

employment practices, in violation of Section 703(a) of Title VII, 42 U.S.C. § 2000e-

2(a) by subjecting Jane Doe to a sexually hostile and offensive work environment

created by Kwon Choi (“Choi”). Incidents of harassment by Choi include, but are not

limited to:

       (a)    Sexual comments, such as telling Jane Doe he wanted to have sex with

her and offering to pay for her car repairs in exchange for sex;



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        (b)   Raping Jane Doe at the restaurant 3501 Seoul during the night of

January 19, 2019 and the morning of January 20, 2019;

        (c)   Following Jane Doe’s sexual assault, constructively discharging her.

        19.   The unlawful employment practices complained of in the foregoing

paragraphs were intentional and done with malice or with reckless indifference to

the federally protected rights of Jane Doe.

                               PRAYER FOR RELIEF

        Wherefore, the Commission respectfully requests that this Court:

        A.    Grant a permanent injunction enjoining 3501 Seoul, LLC, SushiNati,

LLC, and The Korea House, LLC, their officers, agents, servants, employees,

attorneys, and all persons in active concert or participation with it, from engaging

in sexual harassment, and any other employment practice which discriminates on

the basis of sex;

        B.    Order 3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC to

institute and carry out policies, practices, and programs which provide equal

employment opportunities for its employees, which provide for a harassment-free

work environment, and which eradicate the effects of its past and present unlawful

employment practices;

        C.    Order 3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC to

make whole Jane Dane by providing compensation for past and future pecuniary

losses resulting from the unlawful employment practices described in paragraph 18

(a) – (c);



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      D.     Order 3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC to

make whole Jane Dane by providing compensation for past and future

nonpecuniary losses resulting from the unlawful employment practices described in

paragraph 18 (a) – (c), including but not limited to pain and suffering, depression,

anxiety, loss of enjoyment of life, degradation and humiliation, in amounts to be

determined at trial;

      E.     Order 3501 Seoul, LLC, SushiNati, LLC, and The Korea House, LLC to

pay Jane Doe punitive damages for their malicious and reckless conduct, as

described in paragraph 18 (a) – (c), in amounts to be determined at trial;

      F.     Grant such further relief as the Court deems necessary and proper in

the public interest;

      G.     Award the Commission its costs of this action.

                                  JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by the

Complaint.

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                                              GWENDOLYN YOUNG REAMS
                                              Associate General Counsel

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